                                                               Form 1
                                           Individual Estate Property Record and Report                                                                    Page: 1

                                                            Asset Cases
Case No.: 19-10520                                                                                Trustee Name:      (510120) Philip J. Montoya
Case Name:    BLEA, GREGORY ALLEN                                                                 Date Filed (f) or Converted (c): 03/11/2019 (f)
              BLEA, ISABEL EILEEN
                                                                                                  § 341(a) Meeting Date:       04/12/2019
For Period Ending:         06/30/2019                                                             Claims Bar Date:      07/19/2019

                                       1                                  2                      3                      4                   5                   6

                           Asset Description                           Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                        Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                  and Other Costs)

    1       8214 Krim Dr. NE, Albuquerque, NM                          220,000.00                         0.00                                   0.00                        FA
            87109-0000, Bernalillo County
            Single-family home. Entire property value: $220,000.00

    2       7401 Frank PI. NE, Albuquerque, NM                          90,000.00                     7,500.00                                   0.00               90,000.00
            87109-0000, Bernalillo County
            Single-family home. Entire property value: $90,000.00

    3       2006 Honda Accord, 65000 miles                                2,731.00                        0.00                                   0.00                        FA
            Entire property value: $2,731.00

    4       2011 Ford F-150, 150000 miles                               10,382.00                         0.00                                   0.00                        FA
            Entire property value: $10,382.00

    5       1999 Ford F-350 Freeborn RV                                   5,000.00                        0.00                                   0.00                        FA
            Entire property value: $5,000.00

    6       Furniture                                                     1,500.00                        0.00                                   0.00                        FA

    7       Housewares                                                        500.00                      0.00                                   0.00                        FA

    8       Appliances                                                    1,500.00                        0.00                                   0.00                        FA

    9       Wearing apparel                                                   500.00                      0.00                                   0.00                        FA

   10       Miscellaneous jewelry                                              50.00                      0.00                                   0.00                        FA

   11       Four bank accounts, 2 are custodial                               600.00                      0.00                                   0.00                        FA
            accounts: Bank of Albuquerque

   12       Card: HSA prepaid debit card                                  2,600.00                        0.00                                   0.00                        FA

   13       Checking & Share accounts (2): Kirtland                           700.00                      0.00                                   0.00                        FA
            FCU

   14       401 (k): Milliman (Cabela's retirement                            688.95                      0.00                                   0.00                        FA
            program)

   15       401 (k): Rodey firm retirement account                      66,084.24                         0.00                                   0.00                        FA

   16       2018 tax return (filed): Federal                              3,176.00                        0.00                                   0.00                        FA

  16        Assets Totals (Excluding unknown values)                  $406,012.19                    $7,500.00                                  $0.00           $90,000.00




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                                    Individual Estate Property Record and Report                                                   Page: 2

                                                     Asset Cases
Case No.: 19-10520                                                          Trustee Name:      (510120) Philip J. Montoya
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                                                                            § 341(a) Meeting Date:     04/12/2019
For Period Ending:     06/30/2019                                           Claims Bar Date:     07/19/2019



Major Activities Affecting Case Closing:

                            7-30-19 Property listed for sale.
                            6.10.19 Filed Application and NOD to Employ Consultant, Patrick Butler of BK Global Real Estate Services.
                            Order entered 7/12/19.
                            6.10.19 Filed Application and NOD to Employ Realtor, Amy Ackroyd of TAL Realty, Inc. Order entered
                            7/12/19.
                            6.6.19 Filed Application to Employ P. Montoya as General Counsel to the TTEE. Order entered 7/17/19.
                            4.12.19 BK Global interested in Frank PL NE. Report of Assets Filed.

Initial Projected Date Of Final Report (TFR): 03/31/2020            Current Projected Date Of Final Report (TFR):     03/31/2020


                     07/31/2019                                                 /s/Philip J. Montoya
                        Date                                                    Philip J. Montoya




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